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                                   UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF WASHINGTON

  UNITED STATES OF AMERICA,                               Case No. 1:17-CR-2020-SMJ

                                     Plaintiff,           CRIMINAL MINUTES

              vs.                                         DATE: 12/06/2017 LOCATION: Yakima

  SUNDRON LARSELL MILLER, a/k/a                           SENTENCING HEARING
  SUNDRON LARSELL SWITZLER MILLER,
                        Defendant.



                                              Judge Salvador Mendoza, Jr.
 Debbie Brasel                        02                                                Kim Allen

 Courtroom Deputy                     Law Clerk                         Interpreter     Court Reporter
 Ian Lloyd Garriques                                           Michael William Lynch

 Plaintiff's Counsel                                           Defendant's Counsel

[XX] Open Court                                                      [XX] U.S. Probation Officer: Jennifer Dykstra

Defendant present in custody of the U.S. Marshal

Argument by counsel

Defendant does not address Court on his own behalf

The Court rules on and accepts the Pre-Sentence Report

Imprisonment:                                 46 months with respect to the single count Indictment

Court recommends placement of the defendant in the BOP Facility at Sheridan, Oregon.

Defendant shall receive credit for time served in federal custody prior to sentencing in this matter.

Supervised Release:                           3 years with standard conditions and the following special conditions:

1. You must complete a mental health evaluation and follow any treatment recommendations of the evaluating
professional which do not require forced or psychotropic medication and/or inpatient confinement, absent further order
of the court. You must allow reciprocal release of information between the supervising officer and treatment provider.
You must contribute to the cost of treatment according to your ability to pay.

2. You must submit your person, residence, office, or vehicle and belongings to a search, conducted by a probation
officer, at a sensible time and manner, based upon reasonable suspicion of contraband or evidence of violation of a
condition of supervision. Failure to submit to search may be grounds for revocation. You must warn persons with
whom you share a residence that the premises may be subject to search.
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3. You must undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter
into and successfully complete an approved substance abuse treatment program, which could include inpatient
treatment and aftercare upon further order of the court. You must contribute to the cost of treatment according to your
ability to pay. You must allow full reciprocal disclosure between the supervising officer and treatment provider.

4. You must abstain from the use of illegal controlled substances, and must submit to urinalysis and sweat patch
testing, as directed by the supervising officer, but no more than 6 tests per month, in order to confirm continued
abstinence from these substances.

5. You must not enter into or remain in any establishment where alcohol is the primary item of sale. You must abstain
from alcohol and must submit to urinalysis and Breathalyzer testing as directed by the supervising officer, but no more
than 6 tests per month, in order to confirm continued abstinence from this substance.

Special Penalty Assessment:                  $100.00
Fine:                                        waived
Restitution:                                 $00.00

Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration,
monetary penalties are payable on a quarterly basis of not less than $25.00 per quarter.

While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or
10% of the defendant's net household income, whichever is less, commencing 30 days after the defendant is released
from imprisonment.

Appeal rights waived pursuant to the Plea Agreement previously executed by the defendant and filed with the Court.




  CONVENED: 10:40 AM            ADJOURNED: 11:00 AM           TIME: / 20 MINUTES
